USCA4 Appeal: 07-4115      Doc: 137          Filed: 12/23/2008      Pg: 1 of 1

                                                Reset Form



                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


        Fourth Circuit No. 07-4059(L) 07-4115      District Court No. RWT-04-235

        Style of Case: US v LaVon Dobie, et al

                     REQUEST FOR EXTENSION OF TIME AND WAIVER OF
                         APPLICABLE FEE REDUCTION SANCTION

              I request an extension of time and waiver of applicable fee reduction
              sanctions until 12/31/08 for the filing of the transcript which is
              due on 12/19/08 . As of this date, approximately 1,000 pages have
              been completed and 450 pages are yet to be transcribed.

                                  JUSTIFICATION IS AS FOLLOWS:

        A.    Outstanding District Court transcripts ordered within 90 days of this
              request. Any pending appellate transcripts will be taken into
              consideration in deciding this request.

               08-4486; US v Rendelman; 08-5078, US v Perez; 08-1261 Fuerth v Winarsky; 08-2058,
               Collis v Bank of America; 08-4551, US v Vasquez-Martinez
        B.     In-Court Time: (give total days/hours by month)
               Dec - 9 days; 50 hours
        C.     Travel: (give hours spent traveling to and from Court by month)
                Dec - 18 (approx 1 hour each way)
        D.     Other: (please provide any other information you would like the Court to consider
        when reviewing your request. Please be aware that this information will be posted on the
        public docket.)
              The last few weeks have left me feeling extremely exhausted. Between smashing my thumb
              in a car door, to being in the ER with a kidney infection (which took quite a toll on me), to
              my spouse being hospitalized from 12/11 - 12/17. I have canceled my holiday travel plans so
              I can complete this and other appeal requests by year's end.




                   Date: Dec 23, 2008
                         _____________                          /s/ Tracy Rae Dunlap, RPR, CRR
                                                          Name: ___________________________
